          Case 3:23-cv-01392-SCC Document 2 Filed 08/02/23 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

  UNITED STATES OF AMERICA,

          Plaintiff,

          v.
                                                      Civil No.:
  2018 BUGATTI CHIRON (VIN#:
  VF9SP3V34JM795083)

          Defendant In Rem.


               UNITED STATES OF AMERICA’S MOTION TO RESTRICT

TO THE HONORABLE COURT:

       COMES NOW, the United States files this Motion to Restrict in compliance with

the Court’s Standing Order No. 9, dated January 30, 2013, and requests that the Unsworn

Declaration incorporated in the Verified Complaint for Forfeiture In Rem be filed Ex Parte,

as it contains sensitive information that should remain confidential and under that

restriction level until further order of the Court.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 2nd day of August 2023.

                                             W. Stephen Muldrow
                                             United States Attorney


                                             /s/Myriam Y. Fernández-González
                                             Myriam Y. Fernández-González
                                             Assistant United States Attorney – 218011
                                             Torre Chardón, Suite 1201
                                             350 Carlos Chardón Street
                                             San Juan, Puerto Rico 00918
                                             Tel. (787) 766-5656; Fax. (787) 771-4050
                                             Email: Myriam.Y.Fernandez@usdoj.gov


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